Case 2:14-cv-02286-PI\/|-KK Document 12 Filed 01/20/15 Page 1 of 1 Page|D #: 62

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LAKE CHARLES D|VlS|ON

 

BETTY HUNTER 1 DOCKET NO. 14 CV 2286
VERSUS : JUDGE M|NALDI

CORNERSTONE HOSPITAL OF
SOUTHVVEST LOU|SIANA, LLC : MAG|STRATE JUDGE KAY

60 DAY JUDG|VIENT OF DlSM|SSAL

The court having been advised by counsel for the defendant that the above-
captioned matter has settled,

|T |S ORDERED that this action is hereby dismissed without prejudice to the
right, upon good cause shown Within sixty (60) days, to reopen the action if settlement is
not consummated

lT lS FURTHER ORDERED that the parties be directed to file an appropriate
order of dismissal as soon as the settlement documents are executedl lf no motion to
reopen is filed, the case is officially closed and the Clerk of Court shall be relieved of

responsibility of sending out further notices in this matter.

 

 

UN|TED STATES DlSTR|CT COURT

